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EXHIBIT CC
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.ainc offenders come not as afore is aid, and the proclamation made and retunned, they ihall be convia anA at,
 tainted of the riot, affembly, or rout aforefaid: And moreover theJufices of Peace in every county or corporation,
 where fuch riot, alembly, or rout of people Ihall be made, in cafe the famebe made in their preence, or if none be
 '&refeht, then the Jtifices havirpg notice thereof; together with the (he;iff, under fhcriff, or ferjeant, of the fame
  county or corporation, fhall do execution of this a~, every one upon pain of twenty pounds, to be paid to the
 Commonwealth i as often as they Ihall be.found in default of the execution of the faida& ; atnd on luch default of
 the juffices and fheiff ' under fheriff, or ferjeaiit, a conimifion thall go from-th6 Gerieral Court at the inftance
 "fthe party grieved, to enquire as well of th6 truth of the care, and of theororiginal  matter for the party complain-
                                                                                 ferjeant, in this behalf fuppofed, to be
 ant, as of te.defult or defaults of the faidjuffices, iheriffi under lheriff,
 diie&ed to fufficient and indifferent perfons at the nomination of the Judges ; and the laid ommiflioners prefently
  fhahl return into the General Court the iriquefis and matters before them in this behalf taken and found : But no
   erfons convi&ed of a riot, rout, and unlawful affembly, fhall be imprifoned for fuch offence by a longer fpace of
  time than one year. Perfons legally conv~ed of a riot, rout, or unlawful affembly, 6therwife than inthe manner
  dire&ed by this a&, fhall be putifhed by imprifoament and amercement, at the diferetion of a jury, under the
  like limitation.
                          .     .        ,




                                             C H A P.             XLIX.
                          An ACT forbidding and pun inhg AFPRAYS.
IE it ?naaed by the Veneral 4 4bly, 'Thatno man; great nor finall, of what condition f6ver he be, 6Xcep
    the Minifters of Juftic ini ex~iuting he precepts of the courts ofjuftice, or in executing of their office, and
fuch as be in ;heircompany afffling them, be fo hardy to come before the juflices of any court, or either of their
Miniffers of Jullice, doing their dffice, with force andarmsi on painj to forfeit their armour to the Commonwealth,
and their bodies to prifon, at the plcafure of a courti nor go nor ride armed by night nor by dayj in fairs or Imarkets,
or Hi other places, in terror of the county, upoh pain of beingarrefted and committed to prifon by any Juftce on his,
Own view, or proof by others, there to abide for fo long a time as a jury, to be fworn for that purpofe by the laid
Juftice,flhall diic&, and in like manner to forfeit his armour to the Commonwealth; but no perfon fhall be imri-
toned for fiuch Offence by a longer fpace of time than one month;


                                             CHAP.             L.
                        ~n AT. agat C ON S                              I RIAT Ob               S.
 ]B     it declared dtid epnated by the General 4Aembly, That conpirators ke they that do confederate and bind
      themfelves by oath, covenant or other alliafice, that evcry of them.llball aid and bear the other falfely and ma-
 licioufly, to move gr caufe to be moved any enticement or information agaitit anoiler on the part of the Common..
 ivealth, and thofe who aie convieted thereof at the fuit of the Commonwealth, fhall be puniihcd by inprifbntnent
  and amercemint, at the difcretion of a jury;



                                              C H A P.            LL.
         An ACT agahi/ convtpng dr taking PR E T EN SED                                           ITLE 81
 B E 1 enacted by the General :.ffembly, That rio peffon fliall convey 6r takei or bargain to convey or take, any
     pretenfed titleto anylands dr tenements, unlefs the perfon conveying or bargainhig to convey, or thofe under
 whom he claims fliall  have been in poffeflion of the fame, or of the reverfion or remainder thereof one whole year next
 before ; and he who offendath herein knowingly,,Aall forfeit the whole value of the lands or tenements; the one
 moiety to the Commonwealth, and the other to him who will fue as well for himfclf as for the Commonwealth: But
 any perfon lawfully poffefred of lands or tehements, or of the reverfion or remainder thereof, may neverthclefs take
 or bargain to take the pretenfed title of any othdr perfonj fo far and fo far only as it may confirm his former eftate.


                                               C 11A P, LI1
             Ah ACT td punu                  BRIBERY                 and E X T O R.T IONi
     E it enactedb~y the General Affeinidly, That i6 ie, iaftref, ke~pemi bf any Public Seal, Councihlot df Statei
      Cunfldl for the Commdndelth Judge, orAttorniesat law, pra lifing either in the General Court, High Court.
 of Chancery, Court of Appeals, Court of Admiralty, or lnferioi Couitk, Clerk rtf th Peace, Shctilff Coronei,
 Elcheator, nor any officer of the Commonwcalth, fliall in time to -one, take, in any for i, any inanner of
 gift, brokage, or reward for doing his oflice, other than is, or thall be allowed by fome at of General Af&enbly,
 palled after the inflitution of the Cofm1i onwealthi that isto fav, after h fiifteenth day of May, in the year of our
 Lord, one thouflmd feven hundred and feve fix ;and he that doth, thall pay unto the party grieved, the treble value
 Of that he hathreceived, flhall be amnerced and imprfunedatthedifcretionof ajur, andfhallbe ldf harged from his office
 forever; and he who wilt ue iatile                                                                         nU, and the
                                        faid ,hatter, Ihall have fuit as well for the Commonwealth as for him'
 third part of the amercement.
                                                                                                                  CHAP.
